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2                                UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
3

4    UNITED STATES OF AMERICA,                       Case No. 2:21-cr-00286-GMN-EJY
                                                                             *SEALED* -00059--
5                   Plaintiff,                       -

6           v.                                       Order Unsealing Case

7    JOSE ABEL DE LOS SANTOS-NINO,
        aka “Jose Abel Delossantos,”
8       aka “Jose Abel de los Santos,”
        aka “Jose Dejesus Delossantos,”
9
        aka “Ninojose Abel Delossantos,”
10
                           Defendant.
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12          Upon consideration and review of the Government’s motion:

13          IT IS HEREBY ORDERED that the above-captioned matter, United States of America

14   v. Mario De Los Santos-Nino, is unsealed.

15          DATED this 3rd day of November, 2021.

16                                                     By the Court:

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18                                                     Honorable Elayna J. Youchah
                                                       United States Magistrate Judge
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